Case 5:14-cr-50044-TLB   Document 24   Filed 05/06/15   Page 1 of 6 PageID #: 120
Case 5:14-cr-50044-TLB   Document 24   Filed 05/06/15   Page 2 of 6 PageID #: 121
Case 5:14-cr-50044-TLB   Document 24   Filed 05/06/15   Page 3 of 6 PageID #: 122
Case 5:14-cr-50044-TLB   Document 24   Filed 05/06/15   Page 4 of 6 PageID #: 123
Case 5:14-cr-50044-TLB   Document 24   Filed 05/06/15   Page 5 of 6 PageID #: 124
Case 5:14-cr-50044-TLB   Document 24   Filed 05/06/15   Page 6 of 6 PageID #: 125
